     Case 2:17-cv-04951-DOC-JPR Document 15 Filed 09/15/17 Page 1 of 1 Page ID #:115
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 5                         UNITED STATES DISTRICT COURT
 6                        CENTRAL DISTRICT OF CALIFORNIA
 7

 8    UNITED AFRICAN-ASIAN ABILITIES
 9
      CLUB; 011 UAAAC MEMBER         Case No.: 2:17-cv-04951-DOC-JPR

10                Plaintiffs                     ORDER GRANTING JOINT
11
                                                 STIPULATION FOR DISMISSAL AND
      v.                                         DISMISSAL WITH PREJUDICE OF
12                                               ALL DEFENDANTS AND
13                                               PLAINTIFFS’ COMPLAINT IN ITS
      A/P PROP., LTD., A CALIFORNIA              ENTIRETY [14]
14
      LIMITED PARTNERSHIP; TRI-HART,
15    LLC dba Landmark Property
      Management; and DOES 1 THROUGH             [Fed. R. Civ. P. Rule 41(a)(2)]
16
      10, Inclusive
17

18
                  Defendants

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            IT IS HEREBY ORDERED, pursuant to Federal Rules of Civil Procedure,
20
      Rule 41 (a)(1) and (2), that Defendants A/P PROP., LTD., A CALIFORNIA
21
      LIMITED PARTNERSHIP; TRI-HART, LLC dba Landmark Property Management
22
      be dismissed with prejudice from Plaintiffs’ Complaint and Plaintiffs’ Complaint be
23
      dismissed with prejudice in its entirety, Case Number 2:17-cv-04951-DOC-JPR.
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25
      IT IS SO ORDERED.
26

27            September 15, 2017
      Dated: ______________
28

                                            ____________________________________
                                            David O. Carter
                                            U.S. DISTRICT JUDGE
